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                                  UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA

                                       CRIMINAL MINUTES

 Date: June 10, 2022                 Time: 10:08-10:56 AM                 Judge: Edward J. Davila
                                     Total Time: 48 min
 Case No.: 5:18-cr-00258-EJD-2       Case Name: United States v. Ramesh Sunny Balwani (P)(NC)

Attorney for Plaintiff: Kelly Volkar, Jeffrey Schenk, John Bostic, Robert Leach
      Also Present: Special Agent - Chris McCollow
                      Paralegals – Maddi Wachs; Sara Slattery

Attorney for Defendant: Jeffrey Coopersmith, Amy Walsh, Sachi Schuricht


  Deputy Clerk: Cheré Robinson                       Court Reporter: Irene Rodriguez



                        PROCEEDINGS – FURTHER CHARGING CONFERENCE

Defendant not present and not in custody; appearance waived. Hearing held.

Court conducts further charging conference with Counsel. Discussion of final jury instructions.



CASE CONTINUED TO June 14, 2022, at 9:00 AM for Jury Trial.




                                                                                             Chere Robinson
 P/NP: Present, Not Present
                                                                                           Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                             Original: Efiled
 I: Interpreter
                                                                                                        CC:
